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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ex rel.,                :
STEPHEN A. KRAHLING and JOAN A.                  :
WLOCHOWSKI,                                      :             CIVIL ACTION
               Plaintiffs,                       :             NO. 10-4374
                                                 :
       v.                                        :
                                                 :
MERCK & CO., INC.,                               :
                Defendant.                       :


                                         ORDER

       AND NOW, this 27th day of July 2023, upon consideration Relators’ Motion for

Summary Judgment (ECF No. 294) and Defendant Merck’s Motions for Summary Judgment (ECF

Nos. 281, 283, 285, 287), along with the responses and replies thereto, it is hereby ORDERED

that for the reasons stated in the accompanying Memorandum:

   1. Relators’ Motion for Summary Judgment (ECF No. 294) is DENIED.

   2. Merck’s Motions for Summary Judgment based on an Efficacy Theory and the Kessler-

       Based Theory (ECF Nos. 281 and 287) are GRANTED.

   3. Merck’s Second Motion for Summary Judgment Against Relator Krahling (ECF No. 283)

       and Merck’s Third Motion for Summary Judgment on the Time-Barred Claims and

       Damages (ECF No. 285) are DENIED as moot.

   4. Judgment is ENTERED in favor of Defendant Merck and Relators’ Amended Complaint

       is DISMISSED IN FULL WITH PREJUDICE.

   5. The accompanying Memorandum shall remain under seal for seven days. Any party or

       non-party seeking to preclude public access to the accompanying Memorandum shall show




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       particularized good cause 1 in a memorandum not exceeding five pages to be filed no later

       than 12:00 p.m. on August 3, 2023 as to why the Court should preclude public access as

       to each word/line sought to be precluded from public access and shall email the underlying

       Memorandum with the proposed redactions to Chambers contemporaneous with filing the

       show cause Memorandum.




                                                              BY THE COURT:


                                                              /s/ Chad F. Kenney

                                                              CHAD F. KENNEY, JUDGE




1
        See Avandia Mktg., Sales Pracs. & Prod. Liab. Litig., 924 F.3d 662 (3d Cir. 2019)
(explaining that a party seeking to overcome the presumption of access to a judicial document
bears the burden of showing “that the interest in secrecy outweighs the presumption” and that “the
material is the kind of information that courts will protect and that disclosure will work a clearly
defined and serious injury to the party seeking closure”); see also In re: Application of Storag Etzel
GmbH for an Order, Pursuant to 28 U.S.C. § 1782, to Obtain Discovery for Use in a Foreign
Proceeding, No. 19-mc-209-CFC, 2020 WL 2949742 (D. Del. Mar. 25, 2020).
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